Case o-Ly-//430-reg VOC o4 Filed le/OsrcQ Entered 12/05/20 Qalnyi 29

B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

Eastern District of New York

In re Lalchand Lakeram ; Case No. 8-19-77498-reg

 

TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee

hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

U.S. Bank Trust National Association, as Trustee of

 

 

the Tiki Series IV Trust MTGLQ Investors, L.P.
Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): 3-1
should be sent: Amount of Claim: $800,445.56
c/o SN Servicing Corporation Date Claim Filed: 12/20/2019

323 Fifth Street
Eureka, CA 95501

Phone: 800.603.0836 Phone: 800.365.7107
Last Four Digits of Acct #: 5158 Last Four Digits of Acct. #: 5158

 

 

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last Four Digits of Acct #:

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ D. Anthony Sottile Date: 12/03/2020
Transferee/Transferee’s Agent

 

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
